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   2
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   7   Attorneys for Plaintiff
   7
   8
   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
   9
  10
  10   PRESIDENTIAL HEALTHCARE CREDIT                  )   Case No. 2:18-cv-9302
  11   CORPORATION, a Georgia corporation,             )
  11                                                   )
  12
  12                            Plaintiff,             )
  13                                                   )
  13       v.                                          )   COMPLAINT FOR:
  14                                                   )    1. Breach of Written
  14   WHITE RABBIT PARTNERS, INC., a Delaware )               Contract;
  15   corporation, KLEAN W. HOLLYWOOD LLC, a )
  15                                                        2. Money Lent;
       California limited liability company, KLEAN     )
  16                                                        3. Account Stated;
  16   LONG BEACH, WA, LLC, a Washington limited )
       liability company, KLEAN ASTORIA-OR, LLC, )          4. Breach of Guaranty;
  17
  17   an Oregon limited liability company, LA PINE    )    5. Money Due;
  18   KTC, LLC, an Oregon limited liability company, )     6. Recovery of Personal
  18   PORTLAND IOP, LLC, an Oregon limited            )       Property;
  19   liability company, KLEAN PHYSICIANS             )
  19                                                        7. Appointment of Receiver;
       GROUP, LLC, a Washington limited liability      )
  20                                                           and
  20   company, KPG OREGON, LLC, an Oregon             )
       limited liability company, KPG ASTORIA LLC, )        8. Injunctive Relief
  21
  21   an Oregon limited liability company, KPG        )
  22   CALIFORNIA, LLC, a California limited liability )
  22   company, WHITE RABBIT PARTNERS, LLC             )
  23   (NV), a Nevada limited liability company, WHITE )
  23
  24   RABBIT PARTNERS, LLC (CA), a California         )
  24   limited liability company, WELL IN MIND, a      )
  25   California nonprofit corporation, ANDREW        )
  25   SPANSWICK, an individual, ALAN JASON            )
  26   COE, an individual, and MARK HONZEL, an         )
  26   individual,                                     )
  27                                                   )
  27
  28                             Defendants.           )
  28                                                   )


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   1         Plaintiff, Presidential Healthcare Credit Corporation, a Georgia corporation
   2
   2   ("Plaintiff'), complains and alleges as follows:
   3
   3                             JURISDICTION AND VENUE
   4
   4         1.      Jurisdiction is based on 28 U.S.C. §§ 1332 and 1348 in that this is a
   5
   5   civil action between citizens of different states and in which the matter in
   6
   6   controversy exceeds the sum or value of $75,000, exclusive of interest and costs.
   7
   7         2.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2)
   8
   8   because a substantial part of the events giving rise to this action occurred in this
   9
   9   judicial district. The subject contracts and guaranties were prepared and executed
  10
  10   in Los Angeles, California, where Defendants maintain their chief offices and
  11
  11   where performance of the contracts and guaranties was carried out.
  12
  12                                     THE PARTIES
  13
  13         3.      Plaintiff is a Georgia corporation with its principal place of business
  14
  14   and main office located in Alpharetta, Georgia. Plaintiff is qualified to do business
  15
  15   in California.
  16
  16         4.      Plaintiff is informed and believes, and based thereon alleges, that, at
  17
  17   all times mentioned herein, Defendant WHITE RABBIT PARTNERS, INC.
  18
  18   (“White Rabbit”), was and is a Delaware corporation, with its principal place of
  19
  19   business located in City of West Hollywood, County of Los Angeles, California.
  20
  20         5.      Plaintiff is informed and believes, and based thereon alleges, that, at
  21
  21   all times mentioned herein, Defendant KLEAN W. HOLLYWOOD LLC (“Klean
  22
  22   Hollywood”), was and is a California limited liability company, with its principal
  23
  23   place of business located in City of West Hollywood, County of Los Angeles,
  24
  24   California.
  25
  25         6.      Plaintiff is informed and believes, and based thereon alleges, that, at
  26
  26   all times mentioned herein, Defendant KLEAN LONG BEACH, WA, LLC
  27
  27   (“Klean Long Beach”), was and is a Washington limited liability company, with its
  28
  28   principal place of business located in Long Beach, Washington.


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   1         7.    Plaintiff is informed and believes, and based thereon alleges, that, at
   2
   2   all times mentioned herein, Defendant KLEAN ASTORIA-OR, LLC (“Klean
   3
   3   Astoria”), was and is an Oregon limited liability company, with its principal place
   4
   4   of business located in Astoria, Oregon.
   5
   5         8.    Plaintiff is informed and believes, and based thereon alleges, that, at
   6
   6   all times mentioned herein, Defendant LA PINE KTC, LLC (“La Pine”), was and
   7
   7   is an Oregon limited liability company, with its principal place of business located
   8
   8   in La Pine, Oregon .
   9
   9         9.    Plaintiff is informed and believes, and based thereon alleges, that, at
  10
  10   all times mentioned herein, Defendant PORTLAND IOP, LLC (“Portland IOP”),
  11
  11   was and is an Oregon limited liability company, with its principal place of business
  12
  12   located in Portland, Oregon.
  13
  13         10.   Plaintiff is informed and believes, and based thereon alleges, that, at
  14
  14   all times mentioned herein, Defendant KLEAN PHYSICIANS GROUP, LLC
  15
  15   (“KPG”), was and is a Washington limited liability company, with its principal
  16
  16   place of business located in Long Beach, Washington.
  17
  17         11.   Plaintiff is informed and believes, and based thereon alleges, that, at
  18
  18   all times mentioned herein, Defendant KPG OREGON, LLC (“KPG Oregon”),
  19
  19   was and is an Oregon limited liability company, with its principal place of business
  20
  20   located in Astoria, Oregon.
  21
  21         12.   Plaintiff is informed and believes, and based thereon alleges, that, at
  22
  22   all times mentioned herein, Defendant KPG ASTORIA LLC (“KPG Astoria”), was
  23
  23   and is an Oregon limited liability company, with its principal place of business
  24
  24   located in Astoria, Oregon.
  25
  25         13.   Plaintiff is informed and believes, and based thereon alleges, that, at
  26
  26   all times mentioned herein, Defendant KPG CALIFORNIA, LLC (“KPG
  27
  27   California” and collectively with White Rabbit, Klean Hollywood, Klean Long
  28
  28   Beach, Klean Astoria, La Pine, Portland IOP, KPG, KPG Oregon and KPG


                                                 3
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   1   Astoria, the “Providers” and individually, “Provider”), was and is a California
   2
   2   limited liability company, with its principal place of business located in West
   3
   3   Hollywood, California.
   4
   4         14.    Plaintiff is informed and believes, and based thereon alleges, that, at
   5
   5   all times mentioned herein, Defendant WHITE RABBIT PARTNERS, LLC (NV)
   6
   6   (“White Rabbit NV”), was and is a Nevada limited liability company, with its
   7
   7   principal place of business located in West Hollywood, California.
   8
   8         15.    Plaintiff is informed and believes, and based thereon alleges, that, at
   9
   9   all times mentioned herein, Defendant WHITE RABBIT PARTNERS, LLC (CA)
  10
  10   (“White Rabbit CA”), was and is a California limited liability company, with its
  11
  11   principal place of business located in West Hollywood, California.
  12
  12         16.    Plaintiff is informed and believes, and based thereon alleges, that, at
  13
  13   all times mentioned herein, Defendant WELL IN MIND (“Well In Mind”) was and
  14
  14   is a California nonprofit corporation, with its principal place of business located in
  15
  15   West Hollywood, California.
  16
  16         17.    Plaintiff is informed and believes, and based thereon alleges, that, at
  17
  17   all times mentioned herein, Defendant ANDREW SPANSWICK (“Spanswick”) is
  18
  18   an individual with his residence located in West Hollywood, California.
  19
  19         18.    Plaintiff is informed and believes, and based thereon alleges, that, at
  20
  20   all times mentioned herein, Defendant ALAN JASON COE (“Coe”) is an
  21
  21   individual with his residence located in Valley Village, California.
  22
  22         19.    Plaintiff is informed and believes, and based thereon alleges, that, at
  23
  23   all times mentioned herein, Defendant MARK HONZEL (“Honzel” and
  24
  24   collectively with White Rabbit NV, White Rabbit CA, Well In Mind, Spanswick,
  25
  25   and Coe, the “Guarantors”, and individually, “Guarantor”) is an individual with his
  26
  26   residence located in Los Angeles, California.
  27
  27         20.    Plaintiff is informed and believes, and based thereon alleges, that, at
  28
  28   all times mentioned herein, White Rabbit was the 100% equity holder, member or


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   1   otherwise owner of the Providers.
   2
   2                             GENERAL ALLEGATIONS
   3
   3         21.   Defendant    Providers   (collectively,   the   "Borrowers")   provide
   4
   4   residential and out-patient treatment for substance abuse conditions. In addition,
   5
   5   Borrowers offer to select patients leaving their residential treatment services a
   6
   6   place to live away from their prior home living conditions. Borrowers also operate
   7
   7   three (3) residential buildings with rooms rented out at below market rates to
   8
   8   patients.
   9
   9         22.   Borrowers’ residential treatments facilities are located in West
  10
  10   Hollywood, California, with a capacity of 26 patients and in Long Beach,
  11
  11   Washington, with a capacity of 50 patients. A facility in La Pine, Oregon is
  12
  12   presently closed. Borrowers’ Outpatient facilities are located in West Hollywood,
  13
  13   California, and Astoria and Bend, Oregon. Both Astoria and West Hollywood can
  14
  14   see up to 22 patients a day and Bend has a capacity of nine (9) per day. Borrowers’
  15
  15   corporate office is in West Hollywood in the same building as the outpatient
  16
  16   office.
  17
  17         23.   Borrowers accept insurance on both an in-network and out-of-
  18
  18   network basis, although prior to 2018, all insurance was on an out-of-network
  19
  19   claim basis. Borrowers do not accept Medicare or Medicaid insurance. Some
  20
  20   patients are admitted on a charity basis and are not charged for Borrowers’
  21
  21   services,
  22
  22         24.   Borrowers’ largest operating expenses are for payroll, rent, and
  23
  23   marketing. On a monthly basis, Borrowers’ total average overhead costs are
  24
  24   approximately $1,050,000. The primary expense categories in approximate
  25
  25   amounts that comprise these overhead costs are: (a) Payroll: $575,000; (b) Rent:
  26
  26   $131,000; (c) Marketing: $103,000; (d) Facility Expense (food, etc.): $36,000; (e)
  27
  27   Utilities: $26,000; and (f) Information Technology Services: $20,000.
  28
  28         25.   On or about June 30, 2013, Plaintiff, as lender, and Defendant


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   1   Providers (collectively, the "Borrowers"), as borrowers, entered into a written
   2
   2   Revolving Credit and Security Agreement, as amended, restated, supplemented or
   3
   3   otherwise modified from time to time (collectively, the "Credit Agreement").     A
   4
   4   true and correct copy of the Credit Agreement is attached hereto as Exhibit 1, and
   5
   5   incorporated herein by reference.
   6
   6         26.    On or about June 30, 2013, for the value received, the Borrowers
   7
   7   made, executed and delivered to Plaintiff (a) a Revolving Variable Rate Note in the
   8
   8   original sum of $2,900,000 ("Revolving Note"); and (b) a Term Variable Rate Note
   9
   9   in the original sum of $1,100,000 (“Term Note” and collectively with Revolving
  10
  10   Note, the “Notes”). True and correct copies of the Notes are attached hereto
  11
  11   collectively as Exhibit 2, and incorporated herein by reference.
  12
  12         27.    Through numerous amendments and restatements to the revolving
  13
  13   variable rate note, the sum of the borrowing availability under the Revolving Note
  14
  14   has been amended and, as of the date of this Complaint, the principal due under the
  15
  15   Revolving Note is $7,135,890.79.
  16
  16         28.    Pursuant to the Credit Agreement, Providers granted to Plaintiff a
  17
  17   security interest in all of their assets to secure repayment of the Notes.
  18
  18         29.    The security interest identified in the Credit Agreement is duly
  19
  19   perfected UCC-1 Financing Statements on or about July 5, 2013, encumbering all
  20
  20   or substantially all assets of the Providers and Well In Mind (collectively, the
  21
  21   “Corporate Collateral”).     True and complete copies of the UCC-1 Financing
  22
  22   Statements are collectively attached hereto as Exhibit 3 and incorporated herein by
  23
  23   reference.
  24
  24         30.    On or about June 30, 2013, each of the Guarantors executed a
  25
  25   personal guaranty, pursuant to which the Guarantors unconditionally guaranteed
  26
  26   any and all obligations due and owing under the Credit Agreement. True and
  27
  27   complete copies of the Guaranties are collectively attached hereto as Exhibit 4 and
  28
  28   incorporated herein by reference.


                                                  6
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   1         31.    On or about July 30, 2015, each of the Guarantors executed amended
   2
   2   and restated continuing guaranties, true and correct copies of which are attached
   3
   3   hereto as Exhibit 5 and incorporated herein by reference.
   4
   4         32.    Pursuant to the continuing guaranties, in addition to all other duties
   5
   5   and obligations under the respective documents, Well In Mind granted to Plaintiff
   6
   6   a security interest in substantially all of its assets to secure payment of its
   7
   7   obligations under its continuing guaranty (the “WIM Collateral” and collectively
   8
   8   with the Corporate Collateral, the “Collateral”) by the filing of a UCC-1 Financing
   9
   9   Statement.
  10
  10         33.    Pursuant to the continuing guaranties, in addition to all other duties
  11
  11   and obligations under the respective documents, Guarantors Coe, Honzel and
  12
  12   Spanswick entered into Cash Collateral Security Agreements with Plaintiff and,
  13
  13   among other things, granted to Plaintiff a security interest in deposit accounts
  14
  14   established by each of the foregoing (the “Individual Collateral”).
  15
  15         34.    Events of Default under (and as defined in) the Credit Agreement
  16
  16   occurred and were continuing, in consequence of which Plaintiff was entitled to
  17
  17   terminate further advances to or for the benefit of Providers, to declare the entire
  18
  18   balance owing to it from Providers to be immediately due and payable, to enforce
  19
  19   its security interests and other liens in the collateral securing the indebtedness,
  20
  20   liabilities and obligations owing under the Credit Agreement, to enforce its claim
  21
  21   against each Guarantor, to enforce its security interests and other liens in any
  22
  22   collateral pledged by any Guarantor, and to take all other actions and exercise all
  23
  23   other rights and remedies provided in the Credit Agreement or related documents
  24
  24   or authorized by applicable law.
  25
  25         35.    Defendants requested that Plaintiff forbear from exercising certain
  26
  26   remedies available to Plaintiff under the Credit Agreement and applicable law as a
  27
  27   consequence of such Events of Default. Defendants further requested that Plaintiff
  28
  28   continue, during the period of the forbearance, to make loans to Providers pursuant


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   1   to the Credit Agreement.
   2
   2         36.    Plaintiff agreed to forbear from exercising certain remedies available
   3
   3   to it as a result of such Events of Default and to continue making loans, in its
   4
   4   discretion, in accordance with the Credit Agreement, subject to the terms and
   5
   5   conditions of that certain Forbearance Agreement dated May 4, 2018 (as at any
   6
   6   time amended, restated, supplemented or otherwise modified, the "Forbearance
   7
   7   Agreement"), among Plaintiff, Providers and Guarantors. A true and correct copy
   8
   8   of the Forbearance Agreement is attached as Exhibit 6 and incorporated herein by
   9
   9   reference.
  10
  10         37.    As set forth in the Forbearance Agreement, the Stipulated Defaults (as
  11
  11   defined in the Forbearance Agreement) occurred and are continuing under the
  12
  12   Credit Agreement.
  13
  13         38.    At the request of Defendants, Plaintiff agreed to amend the
  14
  14   Forbearance Agreement on three occasions to, among other things, extend the
  15
  15   Forbearance Period under (and as defined in) in the Forbearance Agreement to
  16
  16   afford Providers additional time to reorganize their affairs and to pay the
  17
  17   indebtedness owing to Plaintiff in accordance with the terms of the Credit
  18
  18   Agreement.
  19
  19         39.    Pursuant to that certain Third Amendment to Forbearance Agreement
  20
  20   dated August 21, 2018, among Lender, Providers and Guarantors, the Forbearance
  21
  21   Period was extended to September 28, 2018.
  22
  22         40.    Additional Events of Default occurred and are continuing under the
  23
  23   Credit Agreement, and Defendants failed to satisfy certain of the Forbearance
  24
  24   Conditions (as defined in the Forbearance Agreement).
  25
  25         41.    By letter dated September 13, 2018 (the "September 13 Notice"),
  26
  26   Plaintiff gave notice to Defendants of the Designated Defaults (as defined in the
  27
  27   September 13 Notice), which included continuing Events of Default and violations
  28
  28   of Forbearance Conditions. A true and correct copy of the September 13 Notice is


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   1   attached hereto as Exhibit 7 and incorporated herein by reference.
   2
   2         42.    On September 17, 2018, Providers requested that Plaintiff make an
   3
   3   advance to Providers pursuant to the Credit Agreement in the amount of $250,000.
   4
   4   In requesting such borrowing, Providers acknowledged and agreed that, if Plaintiff
   5
   5   made such advance as requested, the Overadvance (as defined in the Forbearance
   6
   6   Agreement) in existence at the end of business on September 17, 2018, would
   7
   7   exceed the $1.2 million maximum amount of Overadvance permitted under the
   8
   8   Forbearance Agreement by $250,000.
   9
   9         43.    To induce Plaintiff to make this advance, Honzel executed that certain
  10
  10   letter agreement dated September 17, 2018 (the "Honzel Amendment"), amending
  11
  11   that certain Security Agreement (Investment Property) dated as of June 30, 2013
  12
  12   (as at any time amended, restated, supplemented or otherwise modified, the
  13
  13   "Security Agreement"), between Honzel and Plaintiff, increasing the value by
  14
  14   $249,627 (from $665,373 to $915,000) of the collateral he pledged to secure the
  15
  15   Obligations under (and as defined in) the Credit Agreement, thereby constituting
  16
  16   cash collateral of Plaintiff. A true and correct copy of the Honzel Amendment is
  17
  17   attached hereto as Exhibit 8 and incorporated herein by reference.
  18
  18         44.    On September 18, 2018, without any obligation to do so, without
  19
  19   waiving any of the Designated Defaults (or any other Event of Default existing at
  20
  20   that time), in reliance upon the Honzel Amendment, and pursuant to the advance
  21
  21   request letter dated September 18, 2018, Plaintiff made an advance of $250,000 to
  22
  22   Providers.
  23
  23         45.    On September 26, 2018, Providers requested that Plaintiff make
  24
  24   another advance to Providers pursuant to the Credit Agreement in the amount of
  25
  25   $250,000 to enable Providers to pay payroll due to their employees. In requesting
  26
  26   such borrowing, Providers again acknowledged and agreed that, if Plaintiff made
  27
  27   such advance as requested, the Overadvance in existence at the end of business on
  28
  28   September 26, 2018, would exceed the $1.2 million maximum amount of


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    1   Overadvance permitted under the Forbearance Agreement.
    2
    2         46.    On September 26, 2018, without any obligation to do so, and without
    3
    3   waiving any of the Designated Defaults (or any other Event of Default or violation
    4
    4   of Forbearance Conditions existing at that time), and pursuant to the advance
    5
    5   request letter dated September 26, 2018, Plaintiff made another advance of
    6
    6   $250,000 to Providers to enable them to pay payroll for their employees.
    7
    7         47.    On September 28, 2018, Providers requested that Plaintiff make
    8
    8   another advance to Providers pursuant to the Credit Agreement for expenditures
    9
    9   necessary to preserve and protect the value of the assets securing Providers'
   10
   10   indebtedness to Plaintiff under the Credit Agreement. In requesting such
   11
   11   borrowing, Providers acknowledged and agreed that, if Plaintiff made such
   12
   12   advance as requested, the Overadvance in existence at the end of business on
   13
   13   September 28, 2018, would exceed the $1.2 million maximum amount of
   14
   14   Overadvance permitted under the Forbearance Agreement and that the balance of
   15
   15   advances outstanding exceeded the Maximum Aggregate Revolving Loan Amount
   16
   16   (as defined in the Credit Agreement).
   17
   17         48.    On September 28, 2018, without any obligation to do so, and without
   18
   18   waiving any of the Designated Defaults (or any other Event of Default or violation
   19
   19   of Forbearance Conditions existing at that time), and pursuant to the advance
   20
   20   request letter dated September 28, 2018, Plaintiff made another advance to
   21
   21   Providers of $99,000 to preserve and protect its collateral.
   22
   22         49.    The most recent modification to the Forbearance Agreement, dated
   23
   23   August 21, 2018, provides, among other things, that the forbearance period would
   24
   24   terminate on September 28, 2018.
   25
   25         50.    Certain Events of Default under the Credit Agreement, Notes and
   26
   26   Forbearance Agreement have occurred and are continuing, including, without
   27
   27   limitation the following (the “Additional Defaults”):
   28
   28                a.    Providers and Guarantors failed to pay the obligations due and


                                                  10
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    1   owing under the Credit Agreement in full when the Credit Agreement matured on
    2
    2   April 30, 2018;
    3
    3                b.     Defendants’ failure to satisfy Section 4(i) of the Forbearance
    4
    4   Agreement requiring Providers to deliver, on the last business day of the week of
    5
    5   July 30, 2018 and the last business day of each week thereafter until the week of
    6
    6   August 27, 2018, to Plaintiff a 4-week rolling Cash Flow forecast, including a
    7
    7   projection of Providers' forecasted Availability Amount and liquidity, which
    8
    8   forecast is to be in form and is to contain details that are reasonably satisfactory to
    9
    9   Plaintiff;
   10
   10                c.     Defendants' failure to satisfy Section 4(x) of the Forbearance
   11
   11   Agreement due to Providers' failure, on or before September 4, 2018, to deliver to
   12
   12   Plaintiff all financial statements required to be delivered under the Credit
   13
   13   Agreement (including any and all adjustments to most recent year-end financial
   14
   14   statements and year-to-date financial statements through July 31, 2018), and
   15
   15   supporting documentation for accounts receivable and account payable statement
   16
   16   balances; and
   17
   17                d.     Defendants' failure to satisfy Section 4(y) of the Forbearance
   18
   18   Agreement due to Providers' failure, on or before September 4, 2018, to deliver a
   19
   19   business plan to Lapis Advisers, LP for review.
   20
   20          51.   Additionally, on or about August 31, 2018, Providers informed
   21
   21   Plaintiff that an Event of Default under the Credit Agreement had occurred and
   22
   22   was continuing under Section 3(c) of the Credit Agreement as a result of Providers'
   23
   23   failure to remit to Plaintiff approximately $200,000 of Healthcare Receivables in
   24
   24   the month of August 2018.
   25
   25          52.   On October 26, 2018, Plaintiff delivered a letter to Borrowers
   26
   26   demanding payment of the obligations (the “Payment Demand”). Borrowers have
   27
   27   not satisfied their obligations under the Loan Documents. A true and correct copy
   28
   28   of the Payment Demand is attached hereto as Exhibit 9 and incorporated herein by


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    1   reference
    2
    2         53.    Plaintiff performed all of the promises, conditions and covenants it
    3
    3   agreed to perform pursuant to the terms of the Credit Agreement, the Notes, the
    4
    4   Forbearance Agreement, together with all other related loan documents
    5
    5   (collectively, the "Borrowers' Agreements"), except for those promises, conditions
    6
    6   and covenants excused by the acts and omissions of Defendants, and each of them.
    7
    7         54.    Plaintiff performed all of the promises, conditions and covenants
    8
    8   agreed to perform pursuant to the terms of the Guaranties and related documents
    9
    9   (collectively, the "Guarantors' Agreements"), except for those promises, conditions
   10
   10   and covenants excused by the acts and omissions of Defendants, and each of them.
   11
   11         55.    As of the opening of business on October 26, 2018, the aggregate
   12
   12   principal balance outstanding under the Revolver Note, exclusive of accrued
   13
   13   interest, fees, charges, costs, attorneys' fees and other amounts chargeable to
   14
   14   Providers under such Note, totaled $7,135,890.79, which principal balance
   15
   15   includes an Overadvance in the principal amount of $995,177.85.
   16
   16         56.    As of the opening of business on October 26, 2018, the aggregate
   17
   17   principal balance outstanding under the Term Note, exclusive of accrued interest,
   18
   18   fees, charges, costs, attorneys' fees and other amounts chargeable to Providers
   19
   19   under such Note, totaled $834,166.57
   20
   20                            FIRST CLAIM FOR RELIEF
   21
   21                             Breach of Written Contract
   22
   22                             Against Defendant Providers
   23
   23         57.    Plaintiff incorporates by reference all allegations contained in
   24
   24   Paragraphs 1 through 56, inclusive, of the Complaint as if those allegations were
   25
   25   set forth herein.
   26
   26         58.    Events of Default under the Credit Agreement have occurred,
   27
   27   including but not limited to, (a) the Designated Defaults, (b) the Additional
   28
   28   Defaults,(c) a material adverse change in the Borrowers' financial condition; (d)


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    1   Plaintiff's belief that the prospect of payment or performance of the subject
    2
    2   obligation is impaired; and (e) Plaintiff's belief that it is insecure. Pursuant to the
    3
    3   terms of said Agreements and as a result of the Events of Default, Plaintiff
    4
    4   terminated said Agreements and made demand upon the Borrowers for payment in
    5
    5   full of all amounts owing to Plaintiff, but the Borrowers failed and refused and
    6
    6   continue to fail and refuse to pay the sums due.
    7
    7         59.    The Borrowers' Agreements provide that the Borrowers agree to pay
    8
    8   reasonable attorneys' fees incurred by Plaintiff in enforcing its rights under the
    9
    9   terms of said Agreements.
   10
   10                            SECOND CLAIM FOR RELIEF
   11
   11                                       Money Lent
   12
   12                               Against Defendant Providers
   13
   13         60.    Plaintiff incorporates by reference all allegations contained in all
   14
   14   paragraphs of this Complaint as if those allegations were set forth herein.
   15
   15         61.    The Borrowers became indebted to Plaintiff in the principal account
   16
   16   of $7,970,057.33 for money lent for the benefit of the Borrowers by Plaintiff at the
   17
   17   Borrowers' request.
   18
   18         62.    No part of said sum has been paid, although payment has been
   19
   19   demanded.
   20
   20                             THIRD CLAIM FOR RELIEF
   21
   21                                      Account Stated
   22
   22                               Against Defendant Providers
   23
   23         63.    Plaintiff incorporates by reference all allegations contained in all
   24
   24   paragraphs of this Complaint as if those allegations were set forth herein.
   25
   25         64.    An account was stated in writing by and between Plaintiff and the
   26
   26   Borrowers wherein it was agreed that the Borrowers were indebted to Plaintiff in
   27
   27   the principal account of $7,970,057.33 for money lent.
   28
   28         65.    The whole of the above sum has not been paid although demand


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    1   therefor has been made. As of October 26, 2018, there was due, owing and unpaid
    2
    2   to Plaintiff from the Borrowers, jointly and severally, in the principal account of
    3
    3   $7,970,057.33, together with interest, late charges fees and costs.
    4
    4                              FOURTH CLAIM FOR RELIEF
    5
    5                                    Breach of Guaranty
    6
    6                              Against Defendant Guarantors
    7
    7          66.   Plaintiff incorporates by reference all allegations contained in all
    8
    8   paragraphs of this Complaint as if those allegations were set forth herein.
    9
    9          67.   Pursuant to the terms of the Guaranties, the Guarantors jointly and
   10
   10   severally guaranteed to Plaintiff the full and punctual payment, performance and
   11
   11   satisfaction of the indebtedness of the Borrowers to Plaintiff. The extension of
   12
   12   credit made to the Borrowers by Plaintiff constitutes credit as defined in the
   13
   13   Guaranty and was granted to the Borrowers in reliance, in part, upon the
   14
   14   obligations of the Guarantors.
   15
   15          68.   Plaintiff accepted the Guaranty and, in reliance thereon, extended
   16
   16   credit to the Borrowers.
   17
   17          69.   As of October 26, 2018, there was due, owing and unpaid to Plaintiff
   18
   18   from the Borrowers, jointly and severally, in the principal account of
   19
   19   $7,970,057.33, together with interest, late charges fees and costs.
   20
   20          70.   Plaintiff made demand upon the Guarantors for payment of the sums
   21
   21   due and owing under the terms of the Guaranty; however, the Guarantors failed
   22
   22   and refused, and continue to fail and refuse, to pay the sums due and owing to
   23
   23   Plaintiff.
   24
   24          71.   The Guaranty provides that the Guarantors shall reimburse Plaintiff
   25
   25   for all expenses, collection charges, court costs and attorneys' fees that Plaintiff
   26
   26   expends or incurs in connection with the enforcement of the Guaranty.
   27
   27   ///
   28
   28   ///


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    1                              FIFTH CLAIM FOR RELIEF
    2
    2                                         Money Due
    3
    3                              Against Defendant Guarantors
    4
    4         72.     Plaintiff incorporates by reference all allegations contained in all
    5
    5   paragraphs of this Complaint as if those allegations were set forth herein.
    6
    6         73.     The Guarantors became indebted to Plaintiff for money due to
    7
    7   Plaintiff by the Borrowers and Guarantors.
    8
    8         74.     As of October 26, 2018, there was due, owing and unpaid to Plaintiff
    9
    9   from the Borrowers, jointly and severally, in the principal account of
   10
   10   $7,970,057.33, together with interest, late charges fees and costs.
   11
   11         75.     Although payment for the amount owing has been demanded,
   12
   12   Guarantors have not paid the same.
   13
   13                              SIXTH CLAIM FOR RELIEF
   14
   14                              Recovery of Personal Property
   15
   15                                  Against All Defendants
   16
   16         76.     Plaintiff incorporates by reference all allegations contained in all
   17
   17   paragraphs of this Complaint as if those allegations were set forth herein.
   18
   18         77.     Plaintiff holds duly perfected security interest in the Collateral.
   19
   19         78.     The Borrowers' Agreements and Guarantors' Agreements provide,
   20
   20   among other things, that upon a breach of the terms thereof, Plaintiff is entitled to
   21
   21   take possession, control and dominion of the Collateral.
   22
   22         79.     Plaintiff is informed and believes and thereon alleges that the
   23
   23   Collateral is now in the possession or control of the Defendants ("Possession
   24
   24   Defendants") and that the Possession Defendants exercise dominion over the
   25
   25   Collateral.
   26
   26         80.     Plaintiff is informed and believes and thereon alleges that the
   27
   27   Collateral has not been taken for a tax assessment or fine pursuant to a statute or
   28
   28   seized under an execution against the property of Plaintiff, or any of its affiliates.


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    1                            SEVENTH CLAIM FOR RELIEF
    2
    2                                    Appointment of Receiver
    3
    3                               Against Defendant Providers
    4
    4          81.    Plaintiff incorporates by reference all allegations contained in all
    5
    5   paragraphs of this Complaint as if those allegations were set forth herein.
    6
    6          82.    This action is brought under and jurisdiction lies with this Court
    7
    7   pursuant to 28 U.S.C. § 1332(a), and the provisions of Federal Rule of Civil
    8
    8   Procedure 66.
    9
    9          83.    Plaintiff is entitled to the appointment of a receiver at this time and
   10
   10   who will have all the usual and customary powers of a receiver, including, but not
   11
   11   by way of limitation, safeguarding the Collateral, locating and assembling the
   12
   12   Collateral and taking possession, control and dominion thereof, wherever located,
   13
   13   in order to fully safeguard and protect the Collateral, and any returned deposits,
   14
   14   refunds, income, revenue and proceeds derived therefrom (collectively, the
   15
   15   "Receivership Property") from use and dissipation, and to take all appropriate
   16
   16   measures that are necessary to protect the Receivership Property.
   17
   17          84.    Plaintiff is informed and believes, and on that basis alleges, that
   18
   18   unless a receiver is appointed, the Receivership Property will be greatly dissipated
   19
   19   in value, lost, used or otherwise unavailable to Plaintiff, all to the detriment and
   20
   20   irreparable loss of Plaintiff.
   21
   21          85.    In addition, pursuant to Section 5 of the Forbearance Agreement, each
   22
   22   of the Defendants have irrevocably consented to the appointment of a Receiver
   23
   23   over the Collateral after the Forbearance Termination Date, which was September
   24
   24   28, 2018.
   25
   25          86.    Because the Collateral consists primarily of general intangibles, and
   26
   26   accounts, deposits and payments due from third parties, Plaintiff has no speedy or
   27
   27   adequate remedy at law and will suffer irreparable damage, injury and harm unless
   28
   28   the appropriate equitable relief is granted.


                                                   16
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    1                             EIGHTH CLAIM FOR RELIEF
    2
    2     Temporary Restraining Order, Preliminary and Permanent Injunctions -
    3
    3                                  Against All Defendants
    4
    4           87.   Plaintiff repeats and realleges the allegations contained in all
    5
    5   paragraphs of this Complaint and by this reference thereto incorporates the same
    6
    6   herein as though fully set forth.
    7
    7           88.   In aid of the receiver, Plaintiff seeks temporary restraining orders and
    8
    8   a preliminary and permanent injunction restraining and enjoining all Defendants,
    9
    9   their members, officers, agents, employees and representatives, from, among other
   10
   10   things, engaging in, or performing, directly or indirectly, any or all of the following
   11
   11   acts:
   12
   12                 a.     Committing or permitting any waste of the Receivership
   13
   13           Property or any part thereof, or suffering or committing or permitting any act
   14
   14           on the Receivership Property or any part thereof in violation of law, or
   15
   15           removing, transferring, encumbering or otherwise disposing of any of the
   16
   16           Receivership Property or any part thereof;
   17
   17                 b.     Directly or indirectly interfering in any manner with the
   18
   18           discharge of the Receiver's duties under his/her/its Order or the Receiver's
   19
   19           possession of and operation or management of the Receivership Property;
   20
   20                 c.     Expending,       disbursing,   transferring,   assigning,   selling,
   21
   21           conveying, devising, pledging, mortgaging, creating a security interest in,
   22
   22           encumbering, concealing or in any manner whatsoever dealing in or
   23
   23           disposing of the whole or any part of the Receivership Property without
   24
   24           prior specific Court Order;
   25
   25                 d.     Withholding any Receivership Property assets, books, records,
   26
   26           or funds from the Receiver; and
   27
   27                 e.     Doing any act which will, or which will tend to impair, defeat,
   28
   28           divert, prevent or prejudice the preservation of the Receivership Property.


                                                    17
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    1                                         PRAYER
    2
    2         WHEREFORE, Plaintiff prays for judgment against all Defendants in this
    3
    3   action, as follows:
    4
    4         On the First and Fourth Claims for Relief:
    5
    5         l.      For the principal sum of $7,970,057.33, together with interest and
    6
    6   other fees and charges pursuant to the Borrowers' Agreements, and Guarantors'
    7
    7   Agreements according to proof at time of trial or entry of judgment;
    8
    8         2.      For reasonable attorneys' fees;
    9
    9         On the Second, Third and Fifth Claims for Relief:
   10
   10         3.      For the principal sum of $7,970,057.33, together with interest
   11
   11   according to proof at time of trial or entry of judgment;
   12
   12         On the Sixth Claim for Relief:
   13
   13         4.      For judgment for possession of the Collateral.
   14
   14         5.      For reasonable attorneys' fees;
   15
   15         On the Seventh Claim for Relief:
   16
   16         6.      For an order of the Court appointing a receiver over Defendant
   17
   17   Providers, pending trial of this action, having all the usual and customary powers
   18
   18   of a receiver ("Receiver") to take possession, control and dominion of the
   19
   19   Collateral, the revenue, income and profits derived therefrom (the "Receivership
   20
   20   Property"), to protect and preserve the Receivership Property and to sell said
   21
   21   Property;
   22
   22         On the Eighth Claim for Relief:
   23
   23         7.      For a temporary restraining order and preliminary and permanent
   24
   24   injunctions restraining and enjoining All Defendants, their agents, representatives,
   25
   25   managers, members, officers, and all persons acting under, in concert with, or for
   26
   26   them, from:
   27
   27                 a.      Committing or permitting any waste of the Receivership
   28
   28         Property or any part thereof, or suffering or committing or permitting any act


                                                  18
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    1        on the Receivership Property or any part thereof in violation of law, or
    2
    2        removing, transferring, encumbering or otherwise disposing of any of the
    3
    3        Receivership Property or any part thereof;
    4
    4              b.     Directly or indirectly interfering in any manner with the
    5
    5        discharge of the Receiver's duties under his/her Order or the Receiver's
    6
    6        possession of and operation or management of the Receivership Property;
    7
    7              c.     Expending,       disbursing,   transferring,   assigning,   selling,
    8
    8        conveying, devising, pledging, mortgaging, creating a security interest in,
    9
    9        encumbering, concealing or in any manner whatsoever dealing in or
   10
   10        disposing of the whole or any part of the Receivership Property without
   11
   11        prior specific Court Order;
   12
   12              d.     Withholding any Receivership Property assets, books, records,
   13
   13        or funds from the Receiver; and
   14
   14              e.     Doing any act which will, or which will tend to impair, defeat,
   15
   15        divert, prevent or prejudice the preservation of the Receivership Property.
   16
   16        On All Claims for Relief:
   17
   17        8.    For costs of suit herein incurred;
   18
   18        9.    For such other and further relief as the court may deem proper.
   19
   19
   20
   20   Date: October 30, 2018     LEVENE, NEALE, BENDER, YOO & BRILL, L.L.P.
   21
   21
   22
   22
   23                                    By:   /s/ Eve H. Karasik
   23                                          EVE H. KARASIK
   24                                          DAVID B. GOLUBCHIK
   24
   25                                          Attorneys for Plaintiff
   25
   26
   26
   27
   27
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